Petition for certiorari, presenting the following case: Petitioner was plaintiff in an action appealed from justice's court to superior court. Upon a trial de novo there was a verdict for defendant. More than five days after the verdict, but within an extension of time granted by the trial judge, the defendant filed his cost-bill, the amount of which was included in his judgment. Petitioner claims that the judgment is to that extent void, because the trial judge *Page 52 
had no power to extend the time for filing the cost-bill, and that, being too late, costs were waived.
We think, however, that the service and filing of a cost-bill is fairly within a proper construction of section 1054 of the Code of Civil Procedure authorizing extensions of time. It is substantially "a notice other than of appeal."
Writ denied.